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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

In re:
                                                     CASE NO.: 18-19441-EPK
160 ROYAL PALM, LLC,
                                                     Chapter 11
            Debtor.
______________________________________/

 LIMITED OBJECTION TO EXPEDITED MOTION TO CONTINUE EVIDENTIARY
    HEARING, AUCTION AND RELATED DEADLINES, AND SALE HEARING

         RREF II PALM HOUSE LLC ("RREF"), by and through undersigned counsel files this

Limited Objection to the Expedited Motion to Continue Evidentiary Hearing, Auction and

Related Deadlines, and Sale Hearing [ECF No. 336] (the "Motion") and states as follows:

         1.     By the Bidding Procedures Order entered on October 16, 2018 [ECF No. 154]

(the "Bidding Procedures Order"), the Court, among other things, approved RREF as the

Stalking Horse Bidder and approved the Asset Purchase Agreement entered into between RREF

and the Debtor as modified by paragraphs 10 and 11 of the Bidding Procedures Order (the

"Stalking Horse APA"). Pursuant to the Stalking Horse APA, RREF's obligations under the

Stalking Horse APA were conditioned upon, among other things, the entry of the "Sale Order"

by the Bankruptcy Court on or before December 7, 2018 (the "Sale Order Deadline"). The

definition of "Sale Order" under the Stalking Horse APA requires that the Sale Order contain

certain findings and protections as set forth therein and be final and non-appealable.

         2.     On October 24, 2018, the Court heard several various motions and objections

filed by the Debtor and alleged secured creditor KK-PB Financial, LLC relating to, among other

things, the Debtor's motion to limit the ability KK-PB Financial, LLC to credit bid for cause

pursuant to 11 U.S.C. § 363(k). The need for an evidentiary hearing on these matters resulted in




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the Court setting the evidentiary hearing on December 6, 2018 (the "Evidentiary Hearing") that

the Debtor now seeks to adjourn.

        3.      At the October 24, 2018 hearing, RREF acceded to the Debtor's request to extend

the Sale Order Deadline in order to accommodate the evidentiary hearing and to permit the

Debtor to obtain a ruling on KK-PB Financial LLC's credit bid right prior to the bid deadline,

auction, and sale hearing.     On November 8, 2018, the Court entered the Amended Bid

Procedures Order [ECF No. 273] which, among other things, re-set the Bid Deadline, the

Auction, and the Sale Hearing and, by agreement, modified Section 9.2 of the Stalking Horse

APA to extend the Sale Order Deadline until January 2, 2019.

        4.      Now, without having sought RREF's consent, the Debtor seeks to continue the

Evidentiary Hearing until January 7, 2019 (and 2 additional dates to be determined), the Bid

Deadline to January 11, 2019, and the Auction (and presumably the Sale Hearing) until January

18, 2019.

        5.      While this additional time may solve one problem for the Debtor (and RREF

takes no position as to whether or not it does), there can be no doubt that it creates another. By

order dated November 6, 2018 [ECF No. 204], the Court approved certain settlements with the

Town of Palm Beach and authorized and directed the parties to comply with the terms of those

settlements.

        6.      The Conditional Settlement Agreement between the Debtor and the Town of Palm

Beach [ECF No. 112] conditions (a) the extension of critical development entitlements through

April 30, 2019 that would otherwise lapse in January 2019, and (b) the abatement of a violation

assessment, code enforcement fine, code enforcement order, and code enforcement lien through




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April 30, 2019 upon the payment of $200,000 by a Qualified Buyer on or before January 31,

2019.

        7.       Accordingly, extending the auction date and sale hearing until January 18, 2019

results in a closing under the Stalking Horse APA no sooner than February 21, 2019 1 and makes

it impossible for the Debtor to deliver a final and non-appealable Sale Order before January 31,

2019. See Fed. R. Bankr. P. 8002 (providing for 14 day period for filing of notice of appeal).

Only a Qualified Buyer can pay the $200,000 to the Town of Palm Beach and yet the Debtor

seeks to make it impossible for a Qualified Buyer to be in place to make the payment by that

date. Further, even if the $200,000 is timely paid or the Town of Palm Beach agrees to extend

the deadline (a risk that RREF is not prepared to take), a closing at the end of February will

result in a truncated period to take advantage of the development entitlements that will expire on

April 30, 2019. RREF is unwilling to bear the risks associated with the Debtor's requested

further delay.

        8.       For these and other reasons, including, without limitation, the further expansion of

pre-closing property tax obligations that are borne by the buyer under the Stalking Horse APA as

a result of further delay, RREF cannot and does not consent to the extension of the sale-related

deadlines requested by the Motion. Further, RREF objects to the extent that the Debtor seeks

any relief that would alter the Stalking Horse APA (as consensually modified by the express

provisions of the Bid Procedures Order and the Amended Bid Procedures Order).

        9.       Accordingly, and so there are no misapprehensions, to the extent that the Auction

and Sale Hearing are nevertheless continued until January 18, 2019 as requested by the Motion,

the Debtor is choosing not to comply with the Sale Order Deadline in the Stalking Horse APA


1
 The Stalking Horse APA provides for a Closing Date twenty (20) days after delivery of the Sale Order (which, as
noted, must be final and non-appealable).

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(as modified by the Amended Bid Procedures Order) and, upon doing so, bears the risk that

RREF will elect to terminate the Stalking Horse APA and take back its deposit.

        WHEREFORE, RREF respectfully requests that this Court (a) sustain this limited

objection; (b) deny the Motion to the extent that it seeks to alter the Sale Order Deadline or any

other provisions of the Stalking Horse APA (as modified by the Bid Procedures Order and

Amended Bid Procedures Order) whatsoever; and (c) grant such other and further relief as is just

and proper.

        Dated: November 29, 2018.
                                             Respectfully submitted,

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